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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Barbara Mocek
                                  Plaintiff,
v.                                                    Case No.: 1:16−cv−08484
                                                      Honorable Elaine E. Bucklo
AllSaints USA Limited
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 7, 2016:


        MINUTE entry before the Honorable Elaine E. Bucklo: Plaintiff's motion for
remand to State Court [19] grants plaintiff's request for attorneys' fees in the amount of
$58,112.50; and denies defendant's motion to dismiss [13] as moot. This case is remanded
to the Circuit Court of Cook County, Illinois. Enter Memorandum Opinion and Order. All
pending dates and motions are terminated as moot. Civil case terminated. Mailed notice.
(mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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